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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

PETER STALUPPI and GEORGE

LIGHTHISER,
20-cv-6132 (JSR)
Plaintiffs,
ORDER
-against-

EVR FOODS, INC., ELIZABETH
FISHER, VIVIAN ROSENTHAL, and
REBECCA CROSS,

Defendants.

 

 

 

JED S. RAKOFF, U.S.D.J.

Plaintiffs Peter Staluppi and George Lighthiser bring
numerous claims against defendants EVR Foods, Inc., Elizabeth
Fisher, Vivian Rosenthal, and Rebecca Cross related to the pili
nut-based yogurt product known as Lavva. Before the Court are
defendants’ motions to dismiss the Complaint and First Amended
Complaint pursuant to Federal Rules of Civil Procedure 12(b) (2),
12(b) (6), and 9(b) for lack of personal jurisdiction, failure to
state a claim upon which relief can be granted, and failure to
plead fraud with particularity, respectively.

Upon consideration, the Court denies defendants’ motion to
dismiss the breach of contract claim (First Cause of Action) and
grants defendants’ motions to dismiss as to the remainder of
plaintiffs’ claims. An opinion explaining the reasons for this

ruling will follow in due course.

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SO ORDERED.
Dated: New York, NY vet 8S KA
CO
November ae 2020 JED S. RAKOFF, U.S.D.d.

 

 

 

 

 
